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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

    REBECCA METZINGER, M.D.                                    CIVIL ACTION

    VERSUS                                                     NO. 19-10614
                                                             C/W NO. 20-599

    UNITED STATES DEPARTMENT OF                             SECTION “R” (2)
    VETERANS AFFAIRS, ROBERT L.
    WILKIE, SECRETARY




                          ORDER AND REASONS

       Before the Court is defendant’s motion to dismiss or transfer plaintiff’s

Equal Pay Act claim.1 Because the Court lacks jurisdiction, the Court grants

defendant’s motion and transfers plaintiff’s Equal Pay Act claim to the Court

of Federal Claims.



I.     BACKGROUND

       Starting in 2008, plaintiff Dr. Rebecca Metzinger worked as Chief of

the Opthalmology Section of the Veterans Affairs hospital in New Orleans.2

Metzinger alleges that in 2017, she learned that she was paid less than the




1      R. Doc. 28.
2      See R. Doc. 1 at 4 ¶ 7.
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male staff physicians she supervised.3 She also alleges that between 2008

and summer 2017, the hospital had convened biannual panels to increase pay

based on merit for Metzinger’s male colleagues, but had not done the same

for her.4

      Metzinger filed a complaint with the EEOC alleging various claims,

including that the government had violated the Equal Pay Act and Title VII

by paying her less than her male colleagues.5 On May 21, 2019, plaintiff filed

a complaint in this Court against the Department of Veterans Affairs, in

which she alleged only her Equal Pay Act claim.6 The EEOC later dismissed

Metzinger’s remaining Title VII claim on procedural grounds, as plaintiff had

filed an Equal Pay Act claim in federal court that arose from the same facts

and circumstances.7 Plaintiff then filed a civil suit in this Court alleging a

Title VII claim against the same defendant.8 Defendant moves to dismiss, or

in the alternative, to transfer only Metzinger’s Equal Pay Act claim.9 It




3     See id. at 5-6 ¶ 10.
4     See id. at 6-7 ¶¶ 13-14.
5     See R. Doc. 1 at 3 ¶ 5, 6 ¶ 11.
6     See generally R. Doc. 1.
7     See Case No. 20-599, R. Doc. 1-2.
8     See Case No. 20-599, R. Doc. 1.
9     R. Doc. 28.
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argues that exclusive jurisdiction over Equal Pay Act claims against the

government above $10,000 lies with the Court of Federal Claims.10



II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(1) governs challenges to a court’s

subject matter jurisdiction. “A case is properly dismissed for lack of subject

matter jurisdiction when the court lacks the statutory or constitutional

power to adjudicate the case.” Home Builders Ass’n of Miss., Inc. v. City of

Madison, 143 F.3d 1006, 1010 (5th Cir. 1998) (quoting Nowak v.

Ironworkers Local 6 Pension Fund, 81 F.3d 1182, 1187 (2d Cir. 1996)).

Because a 12(b)(1) motion is jurisdictional, a court considers such a motion

“before addressing any attack on the merits,” see In re FEMA Trailer

Formaldehyde Prod. Liab. Litig. (Miss. Plaintiffs), 668 F.3d 281, 286 (5th

Cir. 2012), in order to “prevent[] a court without jurisdiction from

prematurely dismissing a case with prejudice,” id. at 286-87 (quoting

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001)). Nevertheless,

a court uses “the same standard” when analyzing a Rule 12(b)(1) motion as

it would a Rule 12(b)(6) motion. See Dooley v. Principi, 250 F. App’x 114,

115-16 (5th Cir. 2007) (per curiam).



10     See R. Doc. 28-1.
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      In considering subject matter jurisdiction, courts may dismiss on any

one of three bases: “(1) the complaint alone; (2) the complaint supplemented

by undisputed facts in the record; or (3) the complaint supplemented by

undisputed facts plus the court’s resolution of disputed facts.” Clark v.

Tarrant Cty., 798 F.2d 736, 741 (5th Cir. 1986) (citing Williamson v. Tucker,

645 F.2d 404, 413 (5th Cir. 1981)). Furthermore, plaintiff has the burden of

demonstrating that subject matter jurisdiction exists.         See Celestine v.

TransWood, Inc., 467 F. App’x 317, 318 (5th Cir. 2012) (per curiam) (citing

Ramming, 281 F.3d at 161). In considering subject matter jurisdiction,

      If the Court determines that it lacks jurisdiction, but that another court

does have jurisdiction, dismissal is not the only option. Under 28 U.S.C.

§ 1631 when a “court finds that there is want of jurisdiction, the court shall,

if it is in the interest of justice, transfer such action or appeal to any other

such court . . . in which the action or appeal could have been brought at the

time it was filed or noticed.” See also In re Exclusive Indus. Corp., 751 F.2d

806, 808-09 (5th Cir. 1985) (finding that the district court lacked

jurisdiction but that transfer of the case to a different district under 28 U.S.C.

§ 1631 was proper).




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III. DISCUSSION

      The Tucker Act grants the Court of Federal Claims jurisdiction over any

claim “against the United States founded either upon the Constitution, or any

Act of Congress, or any regulation of an executive department, or upon any

express or implied contract with the United States, or for liquidated damages

in cases not sounding in tort.” 28 U.S.C. § 1491(a). The “little” Tucker Act

grants district courts jurisdiction only over claims against the government

that do not exceed $10,000. See 28 U.S.C. § 1346(a)(2). The Fifth Circuit

has therefore held that “a plaintiff asserting an Equal Pay Act cause of action

[against the government] must bring that action in the Court of Federal

Claims if the claim, including the fees sought, exceeds $10,000.” Barnes v.

Levitt, 118 F.3d 404, 410 (5th Cir. 1997). Numerous other courts have come

to the same conclusion. See, e.g., Scharder v. Tomlinson, 311 F. Supp. 2d 21,

25-26 (D.D.C. 2004); Huddleston v. Donovan, 524 F. Supp. 179, 180-81

(N.D. Ill. 1981). Therefore, the Court of Federal Claims has de facto exclusive

jurisdiction over Tucker Act claims over $10,000.

      Here, plaintiff clearly seeks more than $10,000 in damages from the

government for her Equal Pay Act claim. She seeks back pay, interest,

reimbursement for additional taxes, and attorney’s fees.11 Plaintiff’s request



11    R. Doc. 1 at 12-15 ¶¶ 23-28.
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for at least three years’ back pay of $40,000 per year by itself is sufficient to

cross the $10,000 threshold.12 Because plaintiff seeks more than $10,000,

this Court lacks jurisdiction, and jurisdiction can lie only in the Court of

Federal Claims.

      Plaintiff resists this conclusion by arguing that her Equal Pay Act claim

is not a Tucker Act claim in light of the Supreme Court’s ruling in United

States v. Bormes, 568 U.S. 6 (2012). In that case, the Supreme Court

considered a separate statute—the Fair Credit Reporting Act—and held that

“[w]here . . . a statute contains its own self-executing remedial scheme,

[courts] look only to that statue to determine whether Congress intended to

subject the United States to damages liability.” Id. at 11. The Supreme Court

held that the Tucker Act was displaced as a result of the FCRA’s detailed

remedial scheme, which included provisions that ‘“set out a carefully

circumscribed, time-limited, plaintiff-specific’ cause of action, and ‘also

precisely define[d] the appropriate forum.’” Id. at 15 (citing Hinck v. United

States, 550 U.S. 501, 507 (2007)). The Supreme Court did not address the

question of whether the FCRA waived sovereign immunity, but rather held

only that when a plaintiff sues under the FCRA, a court should look to the




12    See id. at 7 ¶ 15.
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FCRA, rather than the Tucker Act, to determine whether sovereign immunity

had been waived.

      Plaintiff argues that the reasoning of Bormes applies with equal force

to the Fair Labor Standards Act, of which the Equal Pay Act is a part. But

courts that have considered this exact argument have rejected it.         For

example, the Federal Circuit—the circuit most familiar with the Tucker Act—

rebuffed this argument in Abbey v. United States, 745 F.3d 1363, 1370-71

(Fed. Cir. 2014). In that case, the Federal Circuit drew a distinction between

the remedial schemes of the FCRA and the FLSA. Specifically, the FCRA

allows suits to be brought “in any appropriate United States district court,

without regard to the amount in controversy, or any other court of competent

jurisdiction.” 15 U.S.C. § 1681p (emphasis added). The Supreme Court noted

that this provision in the FRCA “precisely define[s] the appropriate forum.”

Bormes at 15 (citing Hinck, 550 U.S. at 507). On the other hand, the FLSA

allows for suit to be brought “in any Federal or State court of competent

jurisdiction.” 29 U.S.C. § 216(b). The Federal Circuit held that, unlike the

FCRA, the FLSA did “not specify a forum that is contrary to that specified by

the Tucker Act” and that this “statute specific conclusion takes [an] FLSA

case outside of the reach of the Bormes principle.” Abbey, 745 F.3d at 1370.

See also Adair v. Bureau of Customs & Border Protection, 191 F. Supp. 3d


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129, 133-34 (D.D.C. 2016) (holding that Bormes does not displace

established caselaw that FLSA claims exceeding $10,000 must be brought in

the Court of Federal Claims).

      The reasoning of the Federal Circuit in Abbey is persuasive. The FLSA

does not limit the appropriate forum to federal district courts as the FCRA

does, as it allows for suit in any state or federal court, which includes the

Court of Claims, that could otherwise hear the case. Plaintiff’s Equal Pay Act

claim against the government for more than $10,000 is therefore a claim

subject to the Tucker Act, and it could be brought only in the Court of Federal

Claims.

      Plaintiff also argues that her Equal Pay Act claim should not be

dismissed or transferred because the Court of Federal Claims lacks

jurisdiction under 28 U.S.C. § 1500. That statute provides that

            [t]he United States Court of Federal Claims shall not
            have jurisdiction of any claim for or in respect to
            which the plaintiff or his assignee has pending in
            another court any suit or process against the United
            or any person who, at the time when the cause of
            action alleged in such action arose, was, in respect
            thereto, acting or professing to act, directly or
            indirectly under the authority of the United States.

28 U.S.C. § 1500.

      Plaintiff’s argument seems to suggest that if the Court of Federal

Claims lacks jurisdiction, subject matter jurisdiction would exist in this

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Court by default. The Fifth Circuit has rejected such an argument. In an

analogous case, the Fifth Circuit determined that a lack of jurisdiction in the

Court of Federal Claims does not operate to vest jurisdiction in a federal

district court which otherwise had no jurisdiction. It stated: “Subject matter

jurisdiction either exists or does not exist; we may not create it where there

is no basis for doing so simply because another forum does not exist.”

Charles v. McHugh, 613 F. App’x 330, 334 (5th Cir. 2015).

      Both parties argue, in the alternative, that the Court should transfer

plaintiff’s Equal Pay Act claim to the Court of Federal Claims. The transfer

statute states that when a “court finds that there is a want of jurisdiction, the

court shall, if it is in the interest of justice, transfer such action or appeal to

any other such court . . . in which the action or appeal could have been

brought at the time it was filed or noticed.” 28 U.S.C. § 1631. A court may

therefore transfer plaintiff’s Equal Pay Act claim if it finds that the Court of

Federal Claims has jurisdiction.

      As plaintiff points out, 28 U.S.C. § 1500 deprives the Court of Federal

Claims of jurisdiction over a Tucker Act claim when another claim against

the government arising from the same facts was filed before or

simultaneously with the Tucker Act claim. See, e.g., Philbert v. United

States, 779 F. App’x 733, 736 (Fed. Cir. 2019) (affirming dismissal under 28


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U.S.C. § 1500 of an Equal Pay Act claim transferred to the Court of Federal

Claims when plaintiff simultaneously filed a Title VII claim in the district

court); Harbuck v. United States, 378 F.3d 1324, 1328 (Fed. Cir. 2004)

(same). But the Court of Federal Claims follows a sequential filing rule.

Under this rule, if the Tucker Act claim is filed first, a later-filed claim against

the government does not divest the Court of Federal Claims of jurisdiction.

See Tecon Eng’rs, Inc. v. United States, 343 F.2d 943, 949-950 (Ct. Cl. 1965)

(establishing the sequential rule and allowing a Tucker Act claim to proceed

even when plaintiffs filed later complaints based on the same facts in the

Eastern District of Kentucky). And the transfer statute requires that the

Court of Federal Claims “proceed as if [the claim] had been filed in or noticed

for the court to which it is transferred on the date upon which it was actually

filed in or noticed for the court from which it is transferred.” 28 U.S.C.

§ 1631. In other words, the Court of Federal Claims must treat plaintiff’s

Equal Pay Claim as filed on May 21, 2019—the date on which it was filed in

this Court.13 And because plaintiff filed her Title VII claim14 on February 18,

2020—well after her Tucker Act claim—the sequential filing rule established




13    See R. Doc. 1.
14    See Case No. 20-599, R. Doc. 1.
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in Tecon dictates that 28 U.S.C. § 1500 does not act as a bar to jurisdiction in

the Court of Federal Claims.

      The Supreme Court has cast some doubt on the sequential filing rule.

In United States v. Tohono O’Odham Nation, 563 U.S. 307 (2011), the

Supreme Court suggested that precedent in the Federal Circuit should not

suppress the primary aim of 28 U.S.C. § 1500, which is “to save the

government from the burdens of redundant litigation.” Id. at 315. But the

Court specifically noted that “[t]he Tecon holding is not presented in this

case because the CFC action here was filed after the District Court suit.” Id.

And the Court of Federal Claims and Federal Circuit have steadfastly adhered

to the sequential filing rule, even post-Tohono. See Fairholme Funds, Inc. v.

United States, 147 Fed. Cl. 1, 24-25 (2019) (rejecting an argument to

reinterpret 28 U.S.C. § 1500 as barring a Tucker Act claim filed before other

claims against the government in a district court); Resource Investments,

Inc. v. United States, 785 F.3d 660, 669-70 (Fed. Cir. 2015) (“We are bound

by Tecon which remains the law of this circuit.”); Brandt v. United States,

710 F.3d 1369, 1379 n.7 (Fed. Cir. 2013) (“Because [plaintiff] filed his takings

complaint in the Court of Federal Claims before he filed his appeal . . . the

order-of-filing rule set forth in Tecon, which was not at issue in Tohono, and

which remains the law of this circuit, is satisfied.”); Pellegrini v. United


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States, 103 Fed. Cl. 47, 51 n.4 (2012) (rejecting an argument to overrule

Tecon and noting that “while dicta from a higher court may on occasion

prove persuasive, . . . this discussion in Tohono is not of that ilk”). The

sequential filing rule therefore remains the law of the Federal Circuit and the

Court of Federal Claims.

        Should the Court of Federal Claims revisit the holding of Tecon, it may

choose to dismiss plaintiff’s Equal Pay Act claim under 28 U.S.C. § 1500.

This would mean that no forum can hear plaintiff’s Equal Pay Act claim, as

no court would have subject matter jurisdiction. Judges have recognized this

is a harsh result. See, e.g., Tohono, 563 U.S. at 329-30 (Sotomayor, J.,

concurring in the judgment) (describing application of 28 U.S.C. § 1500 as

“anachronistic,” “harsh,” and “arbitrary”). Nonetheless, courts have found

that such a harsh result is required by the statute. See, e.g., Harbuck v.

United States, 58 Fed. Cl. 266, 270 (2003) (acknowledging that strict

application of 28 U.S.C. § 1500 may lead to unjust results, but is required by

law).

        In summary, the Court finds that while it lacks jurisdiction, the law of

the Federal Circuit makes clear that jurisdiction exists in the Court of Federal

Claims. Because transfer to that court would be in the interest of justice,

transfer is appropriate pursuant to 28 U.S.C. § 1631.


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IV.    CONCLUSION

       For the foregoing reasons, the Court GRANTS defendant’s motion.

Plaintiff’s Equal Pay Act claim is transferred to the Court of Federal Claims.




                                           4th day of May, 2020.
            New Orleans, Louisiana, this _____


                       _____________________
                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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